                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                     (GREEN BAY)


 ASHLEY A. OLSEN,
                                                   Case No. 1:22-CV-00234-WCG
               Plaintiff,

 v.
                                                   Honorable Judge William C. Griesbach
 EASTERN ACCOUNT SYSTEM INC.
 d/b/a E-CENTER,

               Defendant.



                            NOTICE OF SETTLEMENT DISCUSSIONS

       AHSLEY A. OLSEN (“Plaintiff”), by and through her undersigned counsel, submits the

following Notice of Settlement Discussions, as follows:

       1.        On February 25, 2022, Plaintiff filed the instant case against Defendant seeking

redress for violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq., the Fair

Debt Collection Practices Act, 15 U.S.C. §1692 et seq. and the Wisconsin Consumer Act, Wis.

Stat. §427.103 et seq. [Dkt. 1]

       2.        Defendant was duly served on April 4, 2022. [Dkt. 9]

       3.        Defendant’s responsive pleading was due on or before April 25, 2022.

       4.        Defendant has yet to appear or file a responsive pleading.

       5.        On June 2, 2022, the Court entered an Order notifying Plaintiff that the case will be

dismissed in 21 days pursuant to L.R. 41(c) unless Plaintiff notifies the Court of pending settlement

discussions.




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       6.      Plaintiff’s counsel has been in settlement communications with Defendant’s

counsel and would like the opportunity to exhaust settlement discussions.

       7.      Accordingly, Plaintiff respectfully requests that the Court refrain from dismissing

the case and grant the Parties through July 21, 2022 to exhaust settlement discussions.

       8.      If the Parties fail to reach a settlement by July 21, 2022, Plaintiff intends on filing

a Motion for Entry of Default and Motion for Default Judgment.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court (1) refrain from

dismissing the case; and (2) grant the Parties through July 21, 2022 to exhaust settlement

discussions.

Dated: June 23, 2022                                  Respectfully Submitted,

                                                      /s/ Mohammed O. Badwan
                                                      Mohammed O. Badwan
                                                      Counsel for Plaintiff
                                                      Sulaiman Law Group, Ltd.
                                                      2500 South Highland Ave., Suite 200
                                                      Lombard, Illinois 60148
                                                      (630) 575-8180 (phone)
                                                      mbadwan@sulaimanlaw.com




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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2022, I caused a copy of the foregoing document to be

electronically filed with the Clerk of Court using the CM/ECF system which will be sent to all

attorneys of record.


                                                         s/ Mohammed O. Badwan




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